Case 2:22-cv-00079-JLB-KCD       Document 54     Filed 04/04/23   Page 1 of 20 PageID 555




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

                             Case No. 2:22-cv-00079-JLB-MRM
  SHANNON SCHEMEL,
  STEPHEN OVERMAN,
  and MICHAEL TSCHINDA,

               Plaintiffs,

  v.

  CITY OF MARCO ISLAND, FLORIDA,

             Defendant.
  _________________________________________/
       DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT

         Defendant, City of Marco Island, Florida (“City”), pursuant to Federal Rule of

  Civil Procedure 12(b)(6), moves to dismiss the First Amended Complaint,1 filed by

  Plaintiffs, Shannon Schemel, Stephen Overman, and Michael Tschinda (collectively

  “Plaintiffs”) [ECF No. 50], and state as follows:

                                      OVERVIEW

         This case involves the City’s use of an automated license plate recognition

  (“ALPR”) system – fixed location cameras – on public roads. Plaintiffs filed their

  original complaint2 [ECF No. 1] against the City and the City’s police chief in her

  official capacity.    Plaintiffs alleged that the City’s use of the ALPR system –



  1
         The First Amended Complaint is cited herein as “Am’d Compl., ¶      .”
  2
         The original complaint is cited herein as “Compl., ¶ __.”
                       WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD       Document 54      Filed 04/04/23    Page 2 of 20 PageID 556




  photographing publicly visible license plates at publicly visible locations and retaining

  the images over time (as required by state law) – violated the Fourth Amendment and

  Florida’s constitutional right to privacy. Relying on cases involving cellphone and

  GPS tracking, Plaintiffs claimed that the City’s use of the ALPR system constituted

  an impermissible, warrantless search, requiring declaratory and injunctive relief.

        The City moved to dismiss the original complaint on procedural and substantive

  grounds. ECF No. 25. Procedurally, the City argued that the complaint was a shotgun

  pleading, in that it was rife with conclusory and vague allegations that made rendering

  an answer in response “nearly impossible.”3 Id., at 7. On the merits, the City pointed

  out that there is no privacy interest in one’s publicly visible license plate, and even if

  there was, the retention of images taken in public view does not amount to a

  warrantless search. The City explained that cellphone and GPS tracking amounts to

  a warrantless search because it involves surveillance of one’s movement in public and

  private spaces. Because the City’s use of the ALPR system involved capturing images

  of license plates in only public spaces, the City argued that Plaintiffs failed to state a

  federal or Florida constitutional claim.

        Plaintiffs failed to heed the City’s warnings before the Court dismissed their

  complaint without prejudice [ECF No. 44] (herein cited as “Order, at __”). The Court


  3
         In addition, the City pointed out that Plaintiffs’ official capacity claim against
  the police chief was duplicative of their claims against the City. The Court agreed and
  concluded that “the claims against [the police chief] in her official capacity are due to
  be dismissed without prejudice.” ECF No. 44. Plaintiffs do not name the police chief
  as a party in the First Amended Complaint. See generally, Am’d Compl.
                                        2
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD        Document 54      Filed 04/04/23     Page 3 of 20 PageID 557




  agreed with the City on both procedural and substantive grounds. Specifically, the

  Court found that Plaintiffs’ Complaint was a shotgun pleading, in that it “[did] not

  sufficiently delineate the privacy rights [Plaintiffs] seek to protect.” Order, at 6. On

  the merits, the Court acknowledged the well-established rule that motorists have no

  reasonable expectation of privacy in their license plates and distinguished the City’s

  use of the ALPR system from cases involving cellphone and GPS tracking, “which

  track the movements of individuals beyond public thoroughfares[.]” Order, at 9.

         Now, Plaintiffs again fail to heed the City’s and the Court’s warnings, and

  dismissal of the Amended Complaint with prejudice is merited. Specifically, despite

  remedying the procedural defects inherent in the original Complaint, Plaintiffs’ First

  Amended Complaint contains the same substantive defects that doomed the original

  pleading. For the second time, Plaintiffs’ constitutional claims rely on the tenuous

  theories that (1) the privacy interest in the “whole of their physical movements” is

  implicated when they drive cars on public thoroughfares; and (2) by collecting and

  retaining the photographs of their publicly visible license plates at publicly visible

  locations, the City conducts a warrantless “search” in violation of their alleged privacy

  interest. Am’d Compl., ¶¶ 52, 62. In reality, as was the problem with the original

  complaint, Plaintiffs’ theories fail to sufficiently allege a privacy interest or a “search”

  within the meaning of the Fourth Amendment and Florida Constitution. Instead, for

  the second time, Plaintiffs essentially ask this Court “to rewrite and expansively

  redraw the bounds of federal and state constitutional law.” ECF No. 25, at 2. This

                                         3
                      WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD        Document 54      Filed 04/04/23    Page 4 of 20 PageID 558




  Court should decline that request and dismiss Plaintiffs’ First Amended Complaint

  with prejudice.

                               MEMORANDUM OF LAW
  I.    COUNTS I THROUGH III FAIL TO STATE A CLAIM UPON WHICH
        RELIEF CAN BE GRANTED.

        Plaintiffs’ First Amended Complaint contains the same substantive defects that

  doomed the original complaint. For the second time, Plaintiffs cannot state a claim

  because (1) they do not have a privacy interest in their license plate numbers; and (2)

  the City’s collection and retention of ALPR data does not constitute a search under

  federal or Florida law. By extension, Plaintiffs cannot state a claim that the City

  violated their right to privacy under the Florida Constitution.

        a.     Plaintiffs Have Not Stated a Claim for a Fourth Amendment or an Article I,
               Section 12 Violation of the Florida Constitution.4

        Counts I and II seek a declaration that the City violated Plaintiffs’ Fourth

  Amendment rights under the U.S. Constitution and Article I, Section 12 of the Florida



  4
         In addition to the substantive pleading failures discussed herein, Count I fails to
  state a claim on its face because Plaintiffs fail to invoke any enabling legislation.
  Indeed, while they purport to invoke this Court’s federal question jurisdiction,
  pursuant to 28 U.S.C. § 1331, the Fourth Amendment—in and of itself—is not a
  private cause of action. Rather, Plaintiffs must cite some enabling legislation to state
  a cause of action of the alleged violation of federal constitutional rights by persons
  acting under color of state law. See, e.g., Monell v. Dep’t of Soc. Servs. Of New York, 436
  U.S. 658, 690-91 (1978) (recognizing that 42 U.S.C. § 1983 creates a private cause of
  action for alleged constitutional injuries caused by a government entity’s official policy
  or custom). Plaintiffs fail to invoke any enabling legislation (such as Section 1983)
  that would create a private cause of action against the City as to Count I, meriting
  dismissal of this claim on this additional basis.
                                         4
                      WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD       Document 54      Filed 04/04/23    Page 5 of 20 PageID 559




  Constitution, by using the ALPR system to collect and retain data on Plaintiffs’ “daily

  movement,” as well as an injunction from retaining data gathered from use of the

  ALPR system. Am’d Compl., ¶¶ 49-80. Because Article I, Section 12 of the Florida

  Constitution states that “[t]his right shall be construed in conformity with the 4th

  Amendment to the United States Constitution, as interpreted by the United States

  Supreme Court,” both Counts I and II fail to state a claim under Rule 12(b)(6) together.

                    1.     Plaintiffs do not have a reasonable expectation of privacy in
                           their license plate number.

        The protections of the Fourth Amendment can only be invoked when the

  claimant “has a reasonable expectation of privacy in the invaded place.” See State v.

  Markus, 211 So. 3d 894, 902 (Fla. 2017) (citing Minnesota v. Olson, 110 S. Ct. 1684,

  1687 (1990)). This expectation of privacy requires both a subjective expectation of

  privacy as well as an objectively reasonable expectation as determined by societal

  standards. See Smith v. Maryland, 442 U.S. 735, 740-41 (1979) (discussing the Fourth

  Amendment’s reasonable expectation of privacy standard).

        As explained in the City’s first motion to dismiss, no objectively reasonable

  expectation of privacy exists in ALPR data captured solely in plain sight of the public

  on public roadways. In United States v. Knotts, the U.S. Supreme Court held as follows:

               A person travelling in an automobile on public thoroughfares has no
               reasonable expectation of privacy in his movements from one place to
               another. When [co- defendant] travelled over the public streets he
               voluntarily conveyed to anyone who wanted to look the fact that
               he was travelling over particular roads in a particular direction, the


                                        5
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD       Document 54      Filed 04/04/23    Page 6 of 20 PageID 560




               fact of whatever stops he made, and the fact of his final destination
               when he exited from public roads onto private property.

  460 U.S. 276, 281-82 (1983) (emphasis added).

        For this reason, federal courts have routinely and consistently held that one does

  not have a reasonable expectation of privacy in images of his or her plainly visible

  license plate. See, e.g., United States v. Wilcox, 415 F. App’x 990, 992 (11th Cir. 2011)

  (affirming ruling that criminal defendant “did not have a reasonable expectation of

  privacy in the plainly visible license plate” and that the use of a license plate “tag

  reader” did not violate the Fourth Amendment); United States v. Miranda-Sotolongo, 827

  F.3d 663, 668 (7th Cir. 2016) (holding that police officer’s use of a suspect’s tag number

  to retrieve registration information in a law enforcement database was not a “search”

  because the suspect had no reasonable expectation of privacy since the database

  contained only non-private information); United States v. Ellison, 462 F.3d 557, 561-63

  (6th Cir. 2006) (rejecting an argument that storing and retrieving a motorist’s

  information using a license plate reader program amounted to an unlawful warrantless

  search and stating that “[e]very court that has addressed this issue has reached the

  same conclusion.”); Olabisiomotosho v. City of Houston, 185 F.3d 521, 529 (5th Cir. 1999)

  (rejecting argument that computer check of license plate required a warrant because

  “[a] motorist has no privacy interest in her license plate number,” which “is constantly




                                        6
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD       Document 54      Filed 04/04/23   Page 7 of 20 PageID 561




  open to the plain view of passersby”). Plaintiffs’ renewed challenge to the ALPR

  system here is no different for purposes of the Fourth Amendment. 5

        Plaintiffs attempt to avoid this well-established rule by relying on the privacy

  interest in the “whole of [one’s] physical movements,” as recognized in Carpenter v.

  U.S., 138 S.Ct. 2206, 2217 (2018) (citing U.S. v. Jones, 565 U.S. 400, 430 (2012) (Alito,

  J., concurring)). Am’d Compl., ¶¶ 52, 58, 62, 63, 67, 69, 70, 71. However, Plaintiffs’

  strategy fails, because no matter how they attempt to frame the implicated privacy

  interest, the substance of the amended allegations shows that, again, Plaintiffs really

  take issue with the City photographing their license plates.        After all, they are



  5
          Furthermore, there is an overwhelming amount of court decisions upholding
  the use of ALPR systems – like the one at issue in this case – against constitutional
  challenges. See United States v. Yang, 958 F.3d 851 (9th Cir. 2020) (affirming denial of
  motion to suppress because the use of an ALPR database was not a Fourth
  Amendment search as it did not reveal “the whole of [the defendant’s] physical
  movements”); United States v. Walraven, 892 F.2d 972, 974 (10th Cir. 1989) (holding
  that running defendant’s license plate through computer database did not implicate
  privacy interests); USA v. Rubin, No. 18-cr-00568-CRB-1, -- F. Supp. 3d --, 2021 WL
  3773609 (N.D. Fla. Aug. 25, 2021) (declining to suppress evidence “[b]ecause
  accessing the ALPR database was not a Fourth Amendment search”); Chaney v. City
  of Albany, No. 6:16-CV-1185, 2019 WL 3857995, at *8–9 (N.D.N.Y. Aug. 16, 2019)
  (holding that “use of the LPR technology did not violate Plaintiffs’ Fourth
  Amendment rights because he had no reasonable expectation of privacy in his license
  plate information while traveling on public roads,” and observing that the ALPR
  system recorded “without any particular focus on specific individuals” and only
  recorded “the occasions when [a vehicle] passed a camera”); Uhunmwangho v. State,
  No. 09-19-00119-CR, 2020 WL 1442640 (Tex. App. Mar. 25, 2020), at *1, 6-9
  (rejecting a Fourth Amendment challenge to the use of an ALPR system).

         Indeed, Plaintiffs cannot point to any on-point precedent demonstrating that
  they have an objective (let alone subjective) interest in their license plate number or
  their readily observable movements on public roadways.
                                        7
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD          Document 54   Filed 04/04/23    Page 8 of 20 PageID 562




  challenging the “automated license plate recognition system” (emphasis added). Am’d

  Compl. at ¶ 2. For example, despite lofty reference to the “whole of their physical

  movements” in various allegations, in paragraph 58, Plaintiffs reveal the true nature

  of their constitutional claims:

        By strategically placing ALPRs on each of the bridges leading into and
        out of Marco Island and operating them continuously since April 23,
        2021, the City has succeeded in logging the location of Plaintiffs and their
        vehicles every day on multiple occasions, thereby providing the City with
        detailed information regarding the whole of their movements for years
        on end.

  Am’d Compl., ¶ 58 (emphasis added). According to the Amended Complaint, the

  City “logs” the Plaintiffs “movements” by “mounting ALPRs at each of three bridges”

  and “photograph[ing] and record[ing] the license plate information of every vehicle

  that passes by.” Am’d Compl., ¶ ¶ 3, 58.6 Despite their semantic attempt to assert a

  valid privacy interest, Plaintiffs cannot escape the substantive basis of their

  constitutional challenge: the City photographing their license plates.

        This Court, relying on well-established precedent, has already recognized that

  motorists have “no reasonable expectation of privacy in the information contained on



  6
         Indeed, the substance of the allegations in the First Amended Complaint are no
  different from those contained in the original Complaint. Compare Am’d Compl., ¶¶ 3,
  58, with Compl., ¶¶ 2, 60 (“The ALPRs photograph and record the license-plate
  information of ever vehicle that passes by . . . The City’s continuous monitoring of
  Plaintiffs’ movements . . . impinges on their reasonable expectation of privacy in the
  whole of their physical movements.”). In fact, a review of the First Amended
  Complaint reflects that Plaintiffs have merely re-pled the factual allegations, as well as
  the majority of the allegations within each cause of action, originally contained in the
  now-dismissed, initial pleading. Compare Am’d Compl., with Compl.
                                        8
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD        Document 54      Filed 04/04/23     Page 9 of 20 PageID 563




  [their] license plate[s] under the Fourth Amendment.” Order, at 9 (quoting Ellison,

  462 F.3d at 561). Therefore, Plaintiffs have not alleged (and cannot allege) facts

  sufficient to show that the City plausibly violated their federal Fourth Amendment

  rights as well as their rights under Article I, Section 12 rights under the Florida

  Constitution because they cannot identify any underlying expectation of privacy.

                     2.     The City’s collection and retention of ALPR data does not
                            constitute a search.

         Plaintiffs also assert that the City’s collection and retention of individual images

  of their license plate scans over a three-year data retention period somehow constitutes

  a “search” within the meaning of the Fourth Amendment and Article I, Section 12, of

  the Florida Constitution. Am’d Compl., ¶¶ 62, 71, 78.7 In doing so, again, Plaintiffs

  impermissibly ask this Court to expand and revise the definition of a “search” under

  federal and Florida law. See ECF No. 25, at 11.

         Indeed, there is no authority supporting the proposition that the collection and

  retention of ALPR data captured in public view, subject to statutory retention periods,

  amounts to a warrantless search. In fact, numerous federal courts have rejected this



  7
         Plaintiffs’ assertion that the City “collect[s] detailed information about Plaintiffs
  and their daily movements” is unfaithful to the allegations upon which their assertion
  rests. Am’d Compl., ¶¶ 49, 62. As explained in the prior section (see I.a.1), according
  to the Amended Complaint, the City “collects” “detailed information” about Plaintiffs
  “daily movements” by “mounting ALPRs at each of three bridges” and
  “photograph[ing] and record[ing] the license plate information of every vehicle that
  passes by.” Am’d Compl., ¶ ¶ 3, 58. It can hardly be said that photographing one’s
  license plate from three fixed physical locations is akin to “collecting detailed
  information” about one’s “daily movements.”
                                         9
                      WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD      Document 54      Filed 04/04/23   Page 10 of 20 PageID 564




  theory, including specifically in the context of camera images gathered from public

  view. See, e.g., United States v. Houston, 813 F.3d 282, 287-89 (6th Cir. 2016) (finding

  no reasonable expectation of privacy surrounding the warrantless use of video cameras

  that were directed, full time, at an individual’s property, because it captured the same

  views enjoyed by passersby on public roads; and finding that the length of time of that

  surveillance was not relevant); United States v. Bucci, 582 F.3d 108, 116-17 (1st Cir.

  2009) (holding that eight month-long video surveillance of defendant’s driveway and

  garage door did not violate his Fourth Amendment rights because those activities were

  conducted in public, and noting that the defendant’s “lack of a reasonable objective

  expectation of privacy” was “clear”); United States v. Mazzara, 2017 WL 4862793 at

  *11-12 (S.D.N.Y. Oct. 27, 2017) (holding that 21 months of warrantless video camera

  surveillance of a residence from across the street did not violate Fourth Amendment);

  United States v. Moore, 2014 WL 4639419, at *3-4 (S.D. Fla. Sept. 16, 2014) (upholding

  warrantless police video surveillance of an individual over eight months using six

  video cameras, and rejecting argument that the length of the surveillance changed the

  Fourth Amendment analysis); United States v. Aguilera, 2008 WL 375210 at *2 (E.D.

  Wis. Feb. 11, 2008) (denying motion to suppress evidence from warrantless video

  surveillance because “[t]he police could have stood on the street outside defendant’s

  house and observed the comings and goings from his driveway; substitution of a

  camera for in-person surveillance does not offend the Fourth Amendment; and the

  camera did not record activities within defendant’s home or its curtilage obscured from

                                        10
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD        Document 54     Filed 04/04/23   Page 11 of 20 PageID 565




  public view”); Raul Max Canosa v. City of Coral Gables, et al., No. 2018-033927-CA-01

  (11th Cir. Ct. in and for Miami-Dade Cty., Fla., Oct. 4, 2021) (granting summary

  judgment for the City of Coral Gables because the collection of ALPR data does not

  constitute a constitutional “search”).     Oddly, Plaintiffs even admit, “When the

  government uses pole cameras to take isolated photographs of events occurring at a

  particular location, it does not engage in a ‘search’ within the meaning of the U.S. and

  Florida Constitutions.” Am’d Compl., ¶ 5 (emphasis added).

        Plaintiffs cite several cases within their Complaint, seemingly in an effort to

  manufacture their alleged constitutional claims. See Am’d Compl., ¶¶ 6, 53, 54, 65, 69,

  70, 77 (citing Carpenter v. United States, 138 S. Ct. 2206 (2018); United States v. Jones,

  565 U.S. 400 (2012); Tracey v. State, 152 So.3d 504, 525 (Fla. 2014)). None of these

  cases, however, applies here.

        Specifically, Carpenter addressed the government’s warrantless acquisition of the

  defendant’s cell phone location, which catalogued the defendant’s movements in both

  public and private spaces for several months. 138 S. Ct. at 2209. The Supreme Court

  found that particular collection of data was a Fourth Amendment violation because it

  gave the government “near perfect surveillance” of the defendants’ comings and

  goings everywhere, not just in public (unlike here). Id. at 2209-10. Indeed, the Court

  explicitly distinguished surveillance of a vehicle’s location because “[w]hile

  individuals regularly leave their vehicles, they compulsively carry cell phones with

  them all the time,” and “[a] cell phone faithfully follows its owner beyond public

                                        11
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD        Document 54     Filed 04/04/23   Page 12 of 20 PageID 566




  thoroughfares.”    Id. at 2218 (emphasis added).       Moreover, the Carpenter Court

  expressly stated that its opinion “do[es] not … call into question conventional

  surveillance techniques and tools, such as security cameras.” Id. at 2220.

        Similarly, Plaintiffs’ reliance on United States v. Jones fails to demonstrate any

  state or federal constitutional violations have occurred through the use of the City’s

  ALPR system. Jones involved the use of GPS-tracking device physically attached the

  defendant’s vehicle without a warrant. 565 U.S. at 402-03. The Supreme Court found

  that the physical attachment of the GPS device to the vehicle amount to common law

  trespass of the defendant’s property. In so holding, the Jones Court state that “[i]t is

  important to be clear about what occurred in this case: The Government physically

  occupied private property for the purpose of obtaining information.” Id. (emphasis

  added). Here, on the other hand, there is no physical occupation of any aspect of

  Plaintiffs’ vehicles (nor do Plaintiffs allege as such). The City merely captures publicly

  displayed license plates (which Florida law requires to be shown, pursuant to §

  316.605, Fla. Stat.) at individual points on certain public thoroughfares. Accordingly,

  Jones is not applicable here.

        Finally, Plaintiffs cite to Tracey v. State, 152 So.3d 504, 525 (Fla. 2014), in

  support of their Florida constitutional claims. As was true of the original pleading, the

  First Amended Complaint’s reliance on Tracey fails to move the ball towards a prima

  facie case under Rule 12(b)(6). Like in Carpernter, Tracey addressed government

  surveillance of the defendant’s cell phone data through cell site location information.

                                        12
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD       Document 54       Filed 04/04/23    Page 13 of 20 PageID 567




  Id. Unlike here, the government’s cell site surveillance provided information of the

  defendant’s private location, specifically, his residence and thus invaded his subjective

  expectation of privacy. Id. Plaintiffs do not (and cannot possibly) allege that the City

  has conducted any surveillance of their private whereabouts in this case. See generally,

  Am’d Compl., ¶¶ 1-48. They also do not allege (nor can they) that the retention of this

  data for the statutorily regulated, three-year period provides any information about

  their private whereabouts. Id. Indeed, on the face of the Complaint, the affirmative

  allegations are that the City has license plate readers set up in discrete, public locations

  to capture an image of a license plate as a vehicle passes by the camera. Am’d Compl.,

  ¶¶ 3, 17-18, 34-36.

         Plaintiffs’ own recognition that isolated photographs of events in public do not

  amount to a constitutional search should be fatal to their claims here. Not only do

  they recognize that there is no privacy interest in their plainly visible license plates or

  their public coming-and-goings, they affirmatively acknowledge that the retention

  period is statutory. Am’d Compl, ¶¶ 45-47 (citing § 316.0778(2), Fla. Stat. (requiring

  state law officials to establish a retention schedule for ALPR systems) and the

  corresponding CJJIS ALPR Guidelines).8



  8
        As stated in the Complaint, the CJJIS “Guidelines for the Use of Automated
  License Plate Readers” provide that ALPR data “gathered without specific suspicion
  may be retained for no longer than 3 anniversary years.” Guidelines, §6(e); Am’d
  Compl., ¶¶ 46-47; see also Fla. Admin Code 1B-24.003(1)(b) (setting forth Florida’s
  records retention schedule for various records).

                                           13
                        WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD      Document 54      Filed 04/04/23    Page 14 of 20 PageID 568




        As this Court has already explained, “[c]ases involving cellphone and GPS

  tracking – which track the movements of individuals beyond public thoroughfares –

  are distinguishable from fixed location cameras recording images of license plates on

  public roads.” Order, at 9. Accordingly, Counts I and II fail to state a claim because

  there is no underlying privacy interest at stake, and the City has not engaged in a

  “search” within the meaning of federal or Florida constitutional law.

       b.      Plaintiffs Have Not Stated a Claim for an Article I, Section 23 Violation of
               the Florida Constitution in Count III.

        Finally, Plaintiffs assert a standalone cause of action in Count III for a violation

  of Article I, Section 23 of the Florida Constitution. However, Plaintiffs have again




         To the extent Plaintiffs draw into the question the constitutionality of section
  316.0778(2), the retention schedule mandated by Fla. Admin Code 1B-24.003(1)(b),
  or the CJJIS ALPR guidelines, they have failed to satisfy the requirements of Federal
  Rule of Procedure 5.1(a)(1)(B). Plaintiffs’ challenge to the City’s three-year retention
  of ALPR data is, in fact, an improper challenge to Fla. Admin Code 1B-24.003(1)(b)—
  the records retention rules promulgated by the Florida Department of State (“FDOS”).

          Moreover, a related matter initially filed in Miami-Dade Circuit Court also
  challenged FDOS’ data retention rules in Fla. Admin Code 1B-24.003(1)(b). See ECF
  No. 45-1, Complaint, Raul Mas Canosa v. City of Coral Gables, et al., No. 2018-033927-
  CA. Following removal of the claim against the FDOS to the proper venue, the Second
  Circuit Court in and for Leon County, the court dismissed the claims against the
  FDOS with prejudice, which the plaintiff did not appeal. See Raul Mas Canosa v. FDOS,
  et al., No. 2019-CA-2813 (2d Cir. Ct. in and for Leon Cnty., March 11, 2021). The
  remaining claims in the Miami-Dade action were not transferred to Leon County and
  are currently pending before Florida’s Third District Court of Appeal. In their Notice
  of State-Court Proceedings [ECF No. 45], Plaintiffs omit filings from the Canosa case
  in Leon County. See note 9, infra.
                                        14
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD       Document 54      Filed 04/04/23    Page 15 of 20 PageID 569




  failed to state a claim in Count III for the same reasons as explained in the preceding

  sections.

         Article I, Section 23 provides a right of privacy under the Florida Constitution

  which, in the context of an alleged search or seizure, is coterminous with the

  interpretation and application of the Fourth Amendment (and with the parallel

  provision in Article 1, Section 12 of the Florida Constitution). See e.g., State v. Geiss,

  70 So. 3d 642, 645-46 (Fla. 5th DCA 2011) (“[T]he ‘except as otherwise provided

  herein’ language of article 1, section 23 must be read as authorizing governmental

  intrusion into one’s personal life to the same measure [as allowed under the Fourth

  Amendment by the U.S. Supreme Court.]). Notably,

         The Florida Supreme Court has adopted a test to assess the claim of an
         article I, section 23 privacy violation: First, courts must determine
         whether the individual possesses a legitimate expectation of privacy in
         the information or subject at issue. If so, the burden shifts to the State to
         show (a) that there is a compelling state interest warranting the intrusion
         into the individual’s privacy and (b) that the intrusion is accomplished by
         the least intrusive means.

  Joseph v. Sec'y, Dep't of Corr., No. 8:16-CV-3415-T-33SPF, 2018 WL 4301554, at *7–8

  (M.D. Fla. Sept. 10, 2018) (quoting State v. Tamulonis, 39 So.3d 524, 528 (Fla. 2d DCA

  2010)) (additional internal quotations omitted); see also Bd. of Cty. Comm’rs of Palm Beach

  Cty. v. D.B., 784 So. 2d 585, 588, 590 (Fla. 4th DCA 2001) (explaining that, under Art.

  I, § 23, “before the right to privacy attaches and the standard is applied, a reasonable

  expectation of privacy must exist.”); City of N. Miami v. Kurtz, 653 So. 2d 1025, 1028

  (Fla. 1995) (“[T]o determine whether Kurtz … is entitled to protection under [A]rticle

                                         15
                      WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD       Document 54      Filed 04/04/23   Page 16 of 20 PageID 570




  I, section 23, we must first determine whether a governmental entity is intruding into

  an aspect of Kurtz’s life in which she has a ‘legitimate expectation of privacy.’”).

        Count III must be dismissed for the same reasons as Counts I and II because,

  as set forth, supra, Plaintiffs lack a legitimate expectation of privacy here. Indeed, all

  three claims rely on the same allegations of harm, i.e., the recording, collection, and

  retention of ALPR data from plainly visible license plates of vehicles on public

  thoroughfares using cameras located on public property. Am’d Compl., ¶¶ 24-48. As

  with Counts I and II, Count III improperly asks this Court to create a right of privacy

  where none exists.

        Moreover, in Count III, Plaintiffs allege that the City does not have a

  compelling interest in “collecting and retaining information about Plaintiffs’

  movements for an extended period of time or three or more years its records of

  Plaintiffs’ movements[.]” Am’d Compl., ¶ 91. However, this claim is flawed because

  Plaintiffs affirmatively allege that the retention schedule for ALPR data is set by

  Florida statute. See Am’d Compl., ¶ 45 (citing § 316.0778(2), Fla. Stat.). Indeed,

  Florida law requires FDOS, in consultation with the Florida Department of Law

  Enforcement (“FDLE”), to “establish a retention schedule for records containing

  images and data generated through of an [ALPR] system. The retention schedule must

  establish a maximum period that the records may be retained.” § 316.0778(2), Fla.

  Stat. Further—and as affirmatively alleged in Plaintiffs’ Amended Complaint and as

  required by Florida statute, FDOS (in consultation with the FDLE) has issued said

                                          16
                       WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD      Document 54      Filed 04/04/23    Page 17 of 20 PageID 571




  retention schedule setting forth a three-year maximum retention period for ALPR

  records, unless required to be retained under another rule. Rule 1B-24.003(1)(b), Fla.

  Admin. Code; FDOS General Records Schedule GS2; see also Am’d Compl., ¶ 47

  (citing the FDLE’s Guidelines, § 6(e)). And as Plaintiffs allege, the City has stated it

  will maintain ALPR records for a three year maximum, absent specific suspicion.

  Am’d Compl., ¶ 44. In other words, Plaintiffs affirmatively allege that the City is

  compliant with Florida law.

        In reality, Plaintiffs appear to be challenging FDOS’s data retention rules and

  the FDLE’s ALPR guidelines—claims which have already been litigated, resulting in

  a judgment in favor of the FDLE and FDOS. See Raul Mas Canosa v. City of Coral

  Gables, et al., No. 2018-033927-CA (granting summary judgment in favor of the FDLE

  because it did not violate the plaintiff’s rights by issuing and setting the ALPR

  guidelines); Raul Mas Canosa v. FDOS, et al., No. 2019-CA-2813 (2d Cir. Ct. in and for

  Leon Cnty., March 11, 2021) (dismissing the challenge to Fla. Admin. Code 1B-

  24.003(1)(b) with prejudice).9 Because Plaintiffs have not identified any legitimate


  9
         In the Order dismissing Plaintiffs’ original complaint, the Court required
  Plaintiffs’ counsel to file a notice providing copies of the proceedings in the related
  Canosa case. Order, at 10. Plaintiffs’ Notice of State-Court Proceedings [ECF No. 45]
  includes the Canosa trial court’s “Amended Order on Parties’ Cross Motion For
  Summary Judgment.” ECF No. 45-3, at 56. In that order, the trial court determined
  that the city was entitled to summary judgment because (1) there was no objectively
  reasonable expectation of privacy in “ALPR data captured solely in plain sight of the
  public on public roadways”; (2) “aggregation of ALPR data captured in public view
  does not transform those public images into private information”; and (3) the plaintiff’s
  reliance on cases involving “cellphone location data” – including Carpenter and Jones
  – was “unpersuasive.” ECF No. 45-3 at 62-68.
                                        17
                     WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD       Document 54        Filed 04/04/23   Page 18 of 20 PageID 572




  privacy interest nor any facts showing how the City is violating such interest—indeed,

  they allege the opposite, that the City is complaint with Florida law— Count III must

  also be dismissed for failure to state a claim.

  II.    COUNTS I THROUGH                 III   SHOULD         BE    DISMISSED      WITH
         PREJUDICE.

         Finally, Plaintiffs’ claims should be dismissed with prejudice because even as

  amended, their claims still fail to state a cause of action and further leave to amend

  would be futile. Wade v. Daniels, 36 F. 4th 1318, 1328 (11th Cir. 2022) (quoting Hall v.

  United Ins. Co. of Am., 367 F.3d 1255, 1263 (11th Cir. 2004)) (“Leave to amend is futile

  if ‘the complaint as amended is still subject to dismissal.’”); Hall v. United Ins. Co. of

  Am., 367 F.3d 1255, 1262-63 (11th Cir. 2004) (citation omitted) (“[A] district court

  may properly deny leave to amend the complaint under Rule 15(a) when such

  amendment would be futile.”).

         Moreover, “[a] district court is not required to grant a plaintiff leave to amend

  his complaint sua sponte when the plaintiff, who is represented by counsel, never filed

  a motion to amend nor requested leave to amend before the district court.” Wagner v.

  Daewoo Heavy Indus. Am. Corp., 314 F.3d 541, 542 (11th Cir. 2002). Plaintiffs never




         The trial court’s summary judgment for the City of Coral Gables is currently
  pending appeal to the Florida Third District Court of Appeal in Case No. 3D21-1983.
  On appeal, the Canosa plaintiff challenges whether the City of Coral Gable’s ALPR
  regime” violates the federal and Florida constitutional “right to privacy.” ECF No. 45-
  4, at 82, 106-130. The Third District heard oral argument on the matter on March 8,
  2023, and has not yet issued an opinion as of the date of this filing.
                                         18
                      WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD        Document 54      Filed 04/04/23     Page 19 of 20 PageID 573




  filed a motion to amend their pleading before the August 3, 2022 deadline to amend

  the pleadings (or even after said deadline). See ECF No. 39. Allowing them a third

  opportunity to amend their complaint via a dismissal without prejudice is not merited.

  The Eleventh Circuit has “never required district courts to grant counseled plaintiffs

  more than one opportunity to amend a deficient complaint, nor have we concluded

  that dismissal with prejudice is inappropriate where a counseled plaintiff has failed to

  cure a deficient pleading after having been offered ample opportunity to do so.” Eiber

  Radiology, Inc. v. Toshiba Am. Med. Sys., Inc., 673 F. App’x 925, 930 (11th Cir. 2016).

  Accordingly, because for a second time Plaintiffs have failed to state a claim upon

  which relief can be granted, see supra, Section I and II, Plaintiffs’ action merits dismissal

  with prejudice.

                                       CONCLUSION

         Plaintiffs’ First Amended Complaint should be dismissed on substantive

  grounds. Plaintiffs have not (and cannot) state a substantive cause of action under the

  Fourth Amendment or its Florida counterparts. Accordingly, the City respectfully

  request dismissal of the Amended Complaint with prejudice.

                        LOCAL RULE 3.01(g) CERTIFICATION

         Counsel for the City certifies that she corresponded with Plaintiffs’ Counsel on

  March 29, 2023, in an effort to meet and confer regarding Plaintiffs’ position on this

  Motion. Plaintiffs oppose this Motion.



                                         19
                      WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
Case 2:22-cv-00079-JLB-KCD     Document 54     Filed 04/04/23    Page 20 of 20 PageID 574




        WHEREFORE, Defendant, City of Marco Island respectfully request an order

  granting the Motion to Dismiss, dismissing Plaintiffs’ First Amended Complaint [ECF

  No. 50] in its entirety with prejudice, and granting any further relief that the Court

  deems appropriate.

  Dated: April 4, 2023             Respectfully submitted,

                                   WEISS SEROTA HELFMAN
                                   COLE & BIERMAN, P.L.
                                   Counsel for Defendant
                                   200 East Broward Boulevard, Suite 1900
                                   Fort Lauderdale, FL 33301
                                   (954) 763-4242

                                   By: /s/_Anne R. Flanigan__________________
                                         ANNE REILLY FLANIGAN
                                         Florida Bar No.: 113889
                                         Primary email: aflanigan@wsh-law.com
                                         Secondary email: pgrotto@wsh-law.com
                                         BLAYNE J. YUDIS
                                         Florida Bar No. 1026208
                                         Primary email: byudis@wsh-law.com
                                         Secondary email: lbrewley@wsh-law.com




                                       20
                    WEISS SEROTA HELFMAN COLE & BIERMAN, P.L.
